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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

       v.
                                                           Crim. No. 17-10378-NMG
BRIAN AUGUSTINE JOYCE,

               Defendant.


MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE THE MASSACHUSETTS
  BAR ASSOCATION, THE MASSACHUSETTS ASSOCIATION OF CRIMINAL
    DEFENSE LAWYERS, THE ACLU OF MASSACHUSETTS, INC., AND 71
   INDIVIDUAL MASSACHUSETTS ATTORNEYS IN OPPOSITION TO THE
     GOVERNMENT’S MOTION FOR DISQUALIFICATION OF COUNSEL


       Proposed amici curiae the Massachusetts Bar Association, the Massachusetts Association

of Criminal Defense Lawyers, the ACLU of Massachusetts, Inc., and 71 individual

Massachusetts attorneys respectively request leave of this Court to submit the attached brief

amici curiae in opposition to the Government’s Motion to Disqualify Attorney Howard M.

Cooper. See, e.g., Boston Gas Co. v. Century Indem. Co., No. 02-cv-12062-RWZ, 2006 WL

1738312, at *1 n.1 (D. Mass. Jun. 21, 2006) (“[Federal district] courts have inherent authority

and discretion to appoint amici.”); NGV Gaming, Ltd v. Upstream Point Molate, LLC, 355 F.

Supp. 2d 1061, 1067 (N.D. Cal. 2005) (“District courts frequently welcome amicus briefs from

non-parties concerning legal issues that have potential ramifications beyond the parties directly

involved or if the amicus has unique information or perspective that can help the court beyond

the help that the lawyers for the parties are able to provide.” (quotation marks omitted)); see also

Portland Pipe Line Corp. v. City of S. Portland, No. 2:15-cv-00054-JAW, 2017 WL 79948, at *6

(D. Me. Jan. 9, 2017) (granting motions for leave to file amicus briefs); Students for Fair

Admissions, Inc. v. President & Fellows of Harvard College, 308 F.R.D. 39, 52 (D. Mass. 2015)

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(granting proposed intervenors leave to appear as amici curiae, and stating that “[t]he role of an

amicus curiae, meaning ‘friend of the court,’ is to assist the court in cases of general public

interest by making suggestions to the court, by providing supplementary assistance to existing

counsel, and by insuring a complete and plenary presentation of difficult issues so that the court

may reach a proper decision” (quotation marks omitted)).

          The motion for leave to file is based on the following:

          1. Amici curiae have an interest in this case and are well-placed to submit a brief amicus

curiae.

          Amicus curiae the Massachusetts Bar Association (“MBA”), founded in 1910, is a non-

profit organization that serves the legal profession and the public by promoting the

administration of justice, legal education, professional excellence and respect for the law. The

MBA is the largest bar association in Massachusetts, with approximately 12,000 members state-

wide. It is comprised of a House of Delegates that consists of a president, president-elect, vice-

president, treasurer, secretary, the two most immediate, living past presidents, 18 regional

delegates, seven at-large delegates, chairs of the twenty one section councils and others. The

MBA is governed by a set of bylaws, which were most recently approved by the members in

March of 2014. The mission of the MBA is to provide professional support and education to

members, and advocacy on behalf of lawyers, legal institutions and the public. As part of its

advocacy goal, the MBA has formed an Amicus Curiae Committee (“ACC”) to evaluate certain

litigation in which the MBA may be interested in participating. Upon the receipt of a proposal

from the ACC, the House of Delegates votes on whether the MBA should participate in the cause

through the filing of an amicus curiae brief. The ACC has determined that the issues raised in

this case so affect the public policy of the Commonwealth of Massachusetts that a brief amicus is



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warranted. The House of Delegates has approved its filing.

       Amicus curiae the Massachusetts Association of Criminal Defense Lawyers (“MACDL”),

an affiliate of the National Association of Criminal Defense Lawyers, is the preeminent

association of criminal defense lawyers in Massachusetts. Its mission is to provide support for

criminal defense lawyers in their professional practices, including submitting amicus briefs and

providing other services that will improve the quality of representation of the accused; to protect

the individual rights of the citizens of the Commonwealth as guaranteed by the Declaration of

Rights of the Massachusetts Constitution and the United States Constitution, including,

especially, the right to counsel; to maintain the integrity and independence of criminal defense

lawyers; to preserve the adversary system of justice; and to coordinate efforts with national and

local bar associations that are concerned with criminal justice.

       Amicus curiae the American Civil Liberties Union of Massachusetts, Inc. (“ACLUM”),

an affiliate of the national American Civil Liberties Union, is a statewide nonprofit membership

organization dedicated to the principle of liberty and equality embodied in the constitutions and

laws of the Commonwealth and the United States.

       Also joining the attached amicus brief are 71 experienced members of the Massachusetts

Bar, including lawyers who represent individuals and entities who may be targets or subjects of

federal criminal investigations.    The attorneys, who sign this motion and the amici brief

individually, are:

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       2. Amici curiae’s expertise is timely and useful to this court, and amici’s proposed brief

focuses on issues not substantially covered in Mr. Joyce’s brief in opposition to the

Government’s motion.     Amici seek to provide information to this Court regarding the far-

reaching negative implications of a ruling for the government on the motion before the Court. In

particular, amici are concerned that the order the government seeks would impermissibly

infringe on criminal defendants’ Sixth Amendment right to be represented by counsel of their

choice, and would also impair the effective legal defense of respondents in a broad range of

investigative matters and disputes in circumstances where there is reason to believe federal

criminal charges may follow.

       3. No party’s counsel authored the attached brief in whole or in part. No party or party’s

counsel, and no person other than amici curiae, their members, or their counsel, contributed

money intended to fund the preparing or submitting of this brief.

       4. In deciding whether to permit an amicus to file a brief, federal courts often consider

whether the potential amicus has attempted to obtain consent to the filing and whether in fact the



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parties have consented. See, e.g., Cobell v. Norton, 246 F. Supp. 2d 59, 63 (D.D.C. 2003)

(denying leave to file an amicus brief in part because both parties submitted motions in

opposition). Here, in accordance with Local Rule 7.1(a)(2), amici have sought and obtained

consent from the defendant to the filing; amici have also sought and obtained the government’s

assent to the filing.

        5. Finally, although the local rules do not provide guidance as to the length of an

acceptable amicus curiae brief, amici have used both the Federal Rules of Appellate Procedure

(Fed. R. App. P. 29(a)(5) and 32(a)(7)(B)) and local Rule 7.1(b)(4) for reference and have,

accordingly, limited this brief to fewer than twenty pages and fewer than 6,500 words.

        WHEREFORE, the proposed amici curiae respectfully request that this Court grant leave

to file the attached brief amici curiae.




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                                                  Respectfully submitted,



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Dated: April 2, 2018




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                                CERTIFICATE OF SERVICE

        I, John J. Falvey, Jr., hereby certify that on April 2, 2018, I electronically filed this
Motion for Leave to File Brief of Amici Curiae with the Clerk of Court for the United States
District Court for the District of Massachusetts, by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be accomplished by
the CM/ECF system.


April 2, 2018                                             /s/ John J. Falvey, Jr.
                                                             John J. Falvey, Jr.
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       I, John J. Falvey, Jr., hereby certify that I have sought and obtained consent from the
defendant to this filing and the filing of the attached amici brief. I further certify that I have
sought and obtained the government’s assent to the same.


April 2, 2018                                                /s/ John J. Falvey, Jr.
                                                                John J. Falvey, Jr.
